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Sunny Singh

Attorneys for Debtor
and Debtor in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re                                                           :
                                                                :   Chapter 11
THE GREAT ATLANTIC & PACIFIC TEA                                :
COMPANY, INC., et al.,                                          :   Case No. 15-23007 (RDD)
                                                                :
                                      Debtor.                   :   (Jointly Administered)
                                                                :
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          NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING
      TO BE CONDUCTED THROUGH ZOOM ON JULY 16, 2021 AT 2:30 P.M. (ET)


Location of Hearing:          United States Bankruptcy Court for the Southern District of New York,
                              before the Honorable Robert D. Drain, United States Bankruptcy Court,
                              300 Quarropas Street, White Plains, New York, 10601



PLEASE TAKE NOTICE, the United States Bankruptcy Court for the Southern District of
New York (the “Bankruptcy Court”) has entered General Order M-543 to protect public
health, and in recognition of the national emergency that was declared by the President of
the United States on March 13, 2020, the Bankruptcy Court provided that all conferences
scheduled to be held in the courthouse comprising the White Plains Division will be
conducted through Zoom for Government. All attorneys, witnesses and parties wishing to
appear at, or attend, a Zoom hearing or conference must contact the Court at (914) 467-7250
to register for attendance at the Hearing. Pro se parties may participate in the hearing free
of charge using Zoom. Instructions for making an electronic Court Appearance and
additional information on the Court’s Zoom procedures can be found at
https://www.nysb.uscourts.gov/content/judge-robert-d-drain.




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  I.      FEE APPLICATIONS:

          1.        Fourteenth Application of Weil Gotshal & Manges LLP, as Attorneys for Debtors,
                    for Interim Allowance of Compensation for Professional Services Rendered and
                    Reimbursement of Actual and Necessary Expenses Incurred from January 1, 2020
                    through and Including December 31, 2020 [ECF No. 4850]

                    Response Deadline:    July 9, 2021 at 4:00 p.m.

                    Responses Filed:      None.

                    Related Document:

                              A.   Fourteenth Notice of Fee Hearing [ECF No. 4853]

                    Status: This matter is going forward on an uncontested basis.

          2.        Fifteenth Application of Weil Gotshal & Manges LLP, as Attorneys for Debtors,
                    for Interim Allowance of Compensation for Professional Services Rendered and
                    Reimbursement of Actual and Necessary Expenses Incurred from January 1, 2020
                    through and Including December 31, 2020 [ECF No. 4851]

                    Response Deadline:    July 9, 2021 at 4:00 p.m.

                    Responses Filed:      None.

                    Related Document:

                              A.   Fourteenth Notice of Fee Hearing [ECF No. 4853]

                    Status: This matter is going forward on an uncontested basis.

          3.        First Application of Griffin Hamersky LLP, Special Conflicts Counsel to the
                    Official Committee of Unsecured Creditors, for Allowance of Compensation for
                    Professional Services Rendered and for Reimbursement of Actual and Necessary
                    Expenses Incurred for the Period of November 22, 2019 through April 30, 2020
                    [ECF No. 4588]

                    Response Deadline:    July 9, 2021 at 4:00 p.m.

                    Responses Filed:      None.

                    Related Document:

                              A.   Fourteenth Notice of Fee Hearing [ECF No. 4853]

                    Status: This matter is going forward on an uncontested basis.


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          4.        Second Application of Griffin Hamersky LLP, Special Conflicts Counsel to the
                    Official Committee of Unsecured Creditors, for Allowance of Compensation for
                    Professional Services Rendered and for Reimbursement of Actual and Necessary
                    Expenses Incurred for the Period of May 1, 2020 through August 31, 2020
                    [ECF No. 4636]

                    Response Deadline:    July 9, 2021 at 4:00 p.m.

                    Responses Filed:      None.

                    Related Document:

                              A.   Fourteenth Notice of Fee Hearing [ECF No. 4853]

                    Status: This matter is going forward on an uncontested basis.

          5.        Third Application of Griffin Hamersky LLP, Special Conflicts Counsel to the
                    Official Committee of Unsecured Creditors, for Allowance of Compensation for
                    Professional Services Rendered and for Reimbursement of Actual and Necessary
                    Expenses Incurred for the Period of September 1, 2020 through December 31, 2020
                    [ECF No. 4702]

                    Response Deadline:    July 9, 2021 at 4:00 p.m.

                    Responses Filed:      None.

                    Related Document:

                              A.   Fourteenth Notice of Fee Hearing [ECF No. 4853]

                    Status: This matter is going forward on an uncontested basis.

          6.        Fourth Interim Application of Griffin Hamersky LLP, Special Conflicts Counsel to
                    the Official Committee of Unsecured Creditors, for Allowance of Compensation
                    for Professional Services Rendered and for Reimbursement of Actual and
                    Necessary Expenses Incurred for the Period of January 1, 2021 through
                    May 31, 2021 [ECF No. 4842]

                    Response Deadline:    July 9, 2021 at 4:00 p.m.

                    Responses Filed:      None.

                    Related Document:

                              A.   Fourteenth Notice of Fee Hearing [ECF No. 4853]

                    Status: This matter is going forward on an uncontested basis.


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          7.        Thirteenth Application of Pachulski Stang Ziehl & Jones LLP for Interim
                    Allowance of Compensation for Professional Services Rendered and
                    Reimbursement of Actual and Necessary Expenses Incurred as Counsel for the
                    Official Committee of Unsecured Creditors for the Period from August 1, 2019
                    through May 31, 2020 [ECF No. 4602]

                    Response Deadline:    July 9, 2021 at 4:00 p.m.

                    Responses Filed:      None.

                    Related Document:

                              A.   Fourteenth Notice of Fee Hearing [ECF No. 4853]

                    Status: This matter is going forward on an uncontested basis.

          8.        Fourteenth Application of Pachulski Stang Ziehl & Jones LLP for Interim
                    Allowance of Compensation for Professional Services Rendered and
                    Reimbursement of Actual and Necessary Expenses Incurred as Counsel for the
                    Official Committee of Unsecured Creditors for the Period from June 1, 2020
                    through May 31, 2021 [ECF No. 4846]

                    Response Deadline:    July 9, 2021 at 4:00 p.m.

                    Responses Filed:      None.

                    Related Document:

                              A.   Fourteenth Notice of Fee Hearing [ECF No. 4853]

                    Status: This matter is going forward on an uncontested basis.

          9.        Tenth Interim Application of Gibbons P.C. as Special Counsel to the Debtors for
                    Compensation and Reimbursement of Expenses for the Period from May 1, 2020
                    through August 31, 2020 [ECF No. 4633]

                    Response Deadline:    July 9, 2021 at 4:00 p.m.

                    Responses Filed:      None.

                    Related Document:

                              A.   Fourteenth Notice of Fee Hearing [ECF No. 4853]

                    Status: This matter is going forward on an uncontested basis.




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          10.       Eleventh Interim and Final Application of Gibbons P.C. for Compensation for
                    Services Rendered and Reimbursement of Expenses as Special Counsel to the
                    Debtors for the Eleventh Interim Period September 1, 2020 through March 3 2021;
                    Final Application for Allowance of Compensation and Reimbursement of Expenses
                    for the Final Period April 1, 2017 through March 3 2021 [ECF No. 4841]

                    Response Deadline:    July 9, 2021 at 4:00 p.m.

                    Responses Filed:      None.

                    Related Document:

                              A.   Fourteenth Notice of Fee Hearing [ECF No. 4853]

                    Status: This matter is going forward on an uncontested basis.

          11.       Thirteenth Interim Application of FTI Consulting, Inc., Financial Advisor to the
                    Debtors, for Compensation and Reimbursement of Expenses for the Period from
                    August 1, 2019 through December 31, 2020 [ECF No. 4698]

                    Response Deadline:    July 9, 2021 at 4:00 p.m.

                    Responses Filed:      None.

                    Related Document:

                              A.   Fourteenth Notice of Fee Hearing [ECF No. 4853]

                    Status: This matter is going forward on an uncontested basis.

          12.       Fourteenth Interim Application of FTI Consulting, Inc., Financial Advisor to the
                    Debtors, for Compensation and Reimbursement of Expenses for the Period from
                    January 1, 2021 through April 30, 2021 [ECF No. 4847]

                    Response Deadline:    July 9, 2021 at 4:00 p.m.

                    Responses Filed:      None.

                    Related Document:

                              A.   Fourteenth Notice of Fee Hearing [ECF No. 4853]

                    Status: This matter is going forward on an uncontested basis.




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 II.      CONTESTED MATTER:

          13.       Notice of Hearing on Certain Disputed Claims on July 16, 2021 at 2:30 P.M.
                    [ECF No. 4861]

                    Response Deadline:    None.

                    Response Filed:

                              A.   Letter filed by Heather Campbell-Belfort on behalf of Latoya
                                   Campbell [ECF No. 4750]

                    Informal Responses Received:

                              B.   Response of Hilda Rivera

                              C.   Email Correspondence with Adeline Demesier

                    Related Documents:

                              D.   Debtor's Omnibus Reply in Support of Objections to Certain
                                   Disputed Claims [ECF No. 4869]

                              E.   Order Authorizing Final Resolution of Debtors’ Cases and Granting
                                   Related Relief [ECF No. 4810]

                              F.   Debtors’ Forty-Fourth Omnibus Objection to Claims (Satisfied
                                   Claims) [ECF No. 4732]

                              G.   Notice of Withdrawal of Certain Claims to Exhibit A to Debtors’
                                   Forty-Fourth Omnibus Objection to Claims (Satisfied Claims)
                                   [ECF No. 4741]

                              H.   Debtors’ Forty-Fifth Omnibus Objection to Claims (No Liability
                                   Claims) [ECF No. 4733]

                              I.   Debtors Forty-Sixth Omnibus Objection to Claims (Reclassified
                                   Claims) [ECF No. 4742]

                              J.   Notice of Amendment of Exhibit A to Debtors’ Forty-Sixth
                                   Omnibus Objection to Claims (Reclassified Claims) [ECF No.
                                   4742]

                    Status: This matter is going forward on a contested basis with respect to the claims
                    of Hilda Rivera (claim numbers 4531, 6634, 9313, and 2281), Latoya Campbell
                    (claim numbers 6310, 6417), and Adeline Demesier (claim number 1477).




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Dated: July 15, 2021
       New York, New York
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                                                   and Debtor in Possession




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